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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 COMMONWEALTH OF PENNSYLVANIA, STATE
 OF CALIFORNIA, STATE OF DELAWARE,
 DISTRICT OF COLUMBIA, STATE OF MAINE,
 COMMONWEALTH OF MASSACHUSETTS, and
 STATE OF NORTH CAROLINA,

                                 Plaintiffs,                 No. 2:20-cv-4096

                        v.

 LOUIS DEJOY, in his official capacity as United States
 Postmaster General; RON A. BLOOM, in his official
 capacity as Chairman of the Postal Service Board of
 Governors; and the UNITED STATES POSTAL
 SERVICE,

                                 Defendants.


                          Joint Stipulation to Modify Briefing Schedule

       Pursuant to this Court’s Guidelines for extensions of time, Plaintiffs and Defendants

jointly stipulate to the following modified briefing schedule, which extends by three weeks the

schedule ordered by this Court (ECF No. 112). No trial is scheduled, so these extensions will not

delay the scheduling of trial.

       By April 16, 2021, all discovery shall conclude.

       By April 30, 2021, Plaintiffs will file a motion for summary judgment.

       By May 7, 2021, any amicus brief in support of Plaintiffs’ motion for summary

       judgment is due.

       By May 21, 2021, Defendants will file a combined cross-motion for summary

       judgment and opposition to Plaintiffs’ motion for summary judgment.
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       By May 28, 2021, any amicus brief in support of Defendants’ cross-motion for

       summary judgment is due.

       By June 4, 2021, Plaintiffs will file a combined reply in support of their motion for

       summary judgment and opposition to Defendants’ cross-motion for summary

       judgment.

       By June 18, 2021, Defendants will file a reply in support of their cross-motion for

       summary judgment.



 March 19, 2021                                     Respectfully submitted,

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 Acting Assistant Attorney General                  Attorney General
                                                    Commonwealth of Pennsylvania
 ERIC R. WOMACK
 Assistant Branch Director                          MICHAEL J. FISCHER (Pa. Bar. No.
 Federal Programs Branch                            322311)
                                                    Chief Deputy Attorney General
 /s/ Kuntal V. Cholera
 KUNTAL V. CHOLERA                                  /s/ Aimee D. Thomson
 Trial Attorney                                     AIMEE D. THOMSON (Pa. Bar. No.
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                                                    Attorneys for Plaintiffs



APPROVED BY THE COURT:


 /s/ Gerald Austin McHugh
United States District Judge
                                  3/19/21
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